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(Revised03/2020)

                                   UNITED STATES DISTRICT CO URT
                                   SO U TH ERN D ISTR ICT O F FL O R ID A

                             A PPEA M N C E BO N D :PersonalRecoonizance Release

                                      CASE NO.:9:23-cr-80101-A M C-1

UN ITED STA TES O F A M ER ICA :
                      Plaintiff,
V.                                                            U SM # :
 Donald J.Trum p,
                      Defendant,
                                              /

1,thetmdersigned defendantandlorwe,theundersignedsureties,jointly and severally acknowledgethatweand
otlrpersonalrepresentatives,jointlyandseverally,arebotmdtopaytheUnitedStatesofAmerica,thesum of
$                                                             PersonalRecognizance Release

                                    STANDARD CONDITIONS O F BOND
The conditions ofthisbond are thatthe defendant:

    X1. ShallappearbeforethisCourtand atsuch otherplacesasthedefendantmay be required to appear,in
accordance with any and allordersand diredionsrelating to the defendant'sappearance in thiscase,including
appearance forviolation ofa condition ofthe defendant'srelease asmay be ordered ornotitied by thisCourtor
any otherUnited StatesDistrictCourtto whichthedefendantm aybeheld to answerorthecausetransferred.The
defendantisrequired to ascertain from the Clerk ofCourtordefensecounselthetim eand place ofal1scheduled
proceedingson the case. ln no eventm ay a defendantassum e thathis orhercase hasbeen dism issed unlessthe
Courthasentered an orderofdismissal. Thedefendantisto abideby anyjudgmententered in such matterby
surrenderingtoserveanysentenceimposedandobeyinganyorderordirectioninconnectionwithsuchjudgment.
Thisisa continuing bond,including any proceeding on appealorreview,which shallremain in fullforce and
effectuntilsuch time asthe Courtshallorderotherwise.

   2. M ay nottraveloutside the Southem DistrictofFlorida unlessotherwise approved by the Courtpriorto
any suchtravel.TheSouthern DistrictofFloridaconsistsofthefollowing counties:Broward,Highlands,Indian
River,M artin,M inmi-Dade,M onroe,Okeechobee,Palm Beach and St.Lucie.

    3. M ay not change his/herpresentaddress w ithoutpriornotitk ation and approvalfrom the U .S.Probation
O fficerorthe Court.
   4. M ust cooperate w ith 1aw enforcem ent officers in the collection of a DN A sam ple if the collection is
required by 42 U .S.C.Section 14135a.
        M ustnotviolate any federal,state orlocallaw w hile on release in this case.Should the defendantcom e
in contactwith law enforcem enthe/she shallnotify the U .S.Probation Officerw ithin 72 hours.          -- -- .- - - - -
                                                                                                         - - -
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                                                           DEFENDANT: Donald Jn-rrum p
                                                           CASE NUM BER:23-80101-CR-CANNON
                                                           PA G E TW O


                                    SPEC IA L CO N D ITIO N S O F BO N D

In addition to compliance with the previously stated conditions ofbond,the defendantm ustcom ply with the
specialconditionschecked below:

   a.Surrenderallpassportsand traveldocuments,ifany,to PretrialServicesand notobtain any traveldocuments
     dlzring thependency ofthe case;
   b.ReporttoPretrialServicesasfollows:( )asdirectedor timets)aweekin personand                    timets)aweek by
     telephone;
   c.Submitto substanceabusetesting and/ortreatment,contributetothecostofservicesrendered based onability
     topay,asdeterm ined by theU .S.Probation Officer;
   d.Refrain from     excessive OR     abstain from alcoholuse or any use ofa narcotic drug orothercontrolled
     substance,asdefinedinsection 102oftheControlledSubstancesAct(21U.S.C.j802),withoutaprescriptionby
     alicensed medicalpractitioner;
   e.Pm icipate in a m entalhealth assessm entand/ortreatm entand contribute to the costs ofservicesrendered
     based on ability to pay,asdetermined by theU.S.Probation Officer;
   f.Employmentrestrictionts):
   g.M aintain oractively seek full-tim eem ploym ent;
   h.M aintain orbegin an educationalprogram ;
   i.Avoid al1contactwith victim sorwitnessesto the crim escharged,exceptthrough counsel. TheAUSA shall
     provide defense counseland pretrialservices with the names ofa11victims orwitnesses.The prohibition
     againstcontactdoes nottake effectuntildefense counselreceivesthe list.The prohibition againstcontact
     appliesonly to those persons on the list,butthe prosecutor m ay expand the listby sending written notice to
     defense counseland pretrialservices.;
   j.Avoidal1contactwith co-defendantsand defendantsinrelatedcases,exceptthroughcounsel;
   k.Refrainfrom possessingatirearm,destructivedeviceorotherdangerousweaponsandshallsurrender(ifanyl,
     theirconcealed weaponsperm itto theU .S.Probation Office;
   1.N one ofthe signatories m ay sell,pledge,m ortgage,hypothecate,encum ber,etc.,any realproperty they ow n,
     untilthebond isdischarged,orotherwisem odified by the Court;
   m.M ay notvisitcommercialtransportation establishm ent:airports,seaport/marinas,comm ercialbusterm inals,
      train stations,etc.;
   n.Defendantshallconsentto the U .S.Probation Ofticerconducting periodic tmannounced exnm inations ofthe
      defendant's com puter equipm entathis/herplace ofem ploym entoron the com puterathis/herresidence which
      may includeretrievaland copying ofallda1 from thecomputerts)and any intemalorextemalperipheralsto
      ensure com pliance with this condition and/or rem ovalof such equipm entforthe purpose ofconducting a m ore
      thorough inspection;and consentatthe direction ofthe U .S.Probation O ftk erto have installed on the defendant's
      computerts),atthedefendantbsexpense,anyhardwareorsoftwaresystemstomonitorthedefendant'scomputer
      use;
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                                                             DEFENDANT: Donald JsTrum p
                                                             CASENUMBER: 23-801Q1-CR-CANNON
                                                             PA G E THR EE


    o.LOCATION M ONITORING PRO GM M : The defendant shall be m onitored by the form of location
      m onitoring and shallabide by alltechnology requirem ents msnoted below ,as wellascontribute to the costsof
      servicesrenderedbasedon ( )abilitytopay asdeterminedby theU.S.ProbationOftscer- or- ( )paidby
      U.S.Probation;
         Location monitoring technology atthe discretion oftheofticer
           RadioFrequency(RF)monitoring(ElectronicMonitoring)
           ActiveGPS M onitoring
           V oice Recognition
           Curfew:You are restricted toyourresidence every day from          to      .orasdirected by the supervising
           o/ cer.
                                                          OR
           Hom eDetention:You m'
                               erestrictedto yourresidence atal1tim esexceptfor:
           (   )medical
           (   )substanceabuseormentalhealthtreatment
           (   )courtappearances
           (   )attomey visitsorcourtorderedobligations
           (   )religiousservices
           (   )employment
           (   )otheractivitiesaspre-approved bythesupervisingofficer                                                    1
                                                                                                                         .
                                                                                                                         )
-   p.R ESID EN TIAL RE-EN TR Y C ENT ER : The defendant shall reside at a residential re-entry center or
      halfway house and abide by alltherulesand regulationsofthe program . Thecosttobepaid by ( lpretrial                y
                                                                                                                         '
                                                                                                                         )
         Services or ( ) based on the defendant's ability to pay.You are restricted to the residentialre-entry           E
         center/halfway house atalltim es exceptfor:                                                                     '
       ( )employment
       ( )education
       ( )religiousservices
       ( )medical,substnnceabuse,ormentalhealthtrea% ent
       ( )attomeyvisits
       ( )courtappearances
       ( )courtorderedobligations                                                                                        ):
       ( )reportingtoPretrialServices                                                                                    )
                                                                                                                         q
                                                                                                                         '
                                                                                                                         .


       ( )other                                                                                                          )
                                                                                                                         l
-    q.Third-party Custody:                                              willserve asathirdparty custodianandwill t
         reportany violations of the release conditions to the U .S.Probation O fficer. Failure to com ply w ith these   ?
                                                                                                                         f
         requirements,thethird party custodian can besubjectto theprovisionsof18 U.S.C.j 401,Contemptof )
         Court.
     r Thedefendantshallsubmithisperson,propeo ,residence,vehicle,papers,computers,(asdetined in l8
     .                                                                                                                   )
       U.S.C.1030(e)(1)),otherelectroniccommunication ordatastoragedevicesormedia,oroffice,to asearch
         conducted by a United States Probation Officer. The defendantm ustw m'n any otheroccupants thatthe              t
                                                                                                                         (
         p remisesmaybesubjecttosearchespursuanttothiscondition.Anysearchmustbeconductedatareasonable t
         tim e and in a reasonable m anner.                                                           )                  1

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                                                                                                                         E
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                                                        DEFENDANT; Donald Ju Trum p
                                                        CASE NUMBER: 23-80101-CR-CANNO N
                                                        PAGE FOUR


  s. M andatory A dam W alsh Conditions: Defendant shall abide by specified restrictions on personal
  associations,place ofabode,ortravel,to avoid al1contact with an alleged victim ofthe crime and with a
  potentialwitness who may testify concerning the offense; reporton a regular basis to a designated law
  enforcementagency,pretrialservicesagencyorotheragency;complywithaspecifiedcurfew (withelectronic
  monitoring)andrefrain from possessingafirearm,destructivedeviceorotherdangerousweapons.
  t.AdditionalSex Offense ConditionsForDefendantsChmxed orConvicted ofaSexualOffense:
       1. ( )Defendantmaynothavecontactwithvictimts),oranychildundertheageof18,unlessapproved
                by the Courtorallowedby the U.S.Probation Officer.
       2.     )Thedefendantshallnotpossessoruseany dataencryptionteclmiqueorprogram andshall
                providepasswordsand adm inistrative rightstotheU .S.Probation Officer.
              ) Defendantshallparticipatein specializedsexoffenderevaluationandtreatment,ifnecessary,
                and to contribute to thecostsofservicesrendered based on ability to pay,asdeterm ined by
                theU .S.Probation Office.
       4.     )Defendantshallnotpossess,procure,purchaseorotherwiseobtainany internetcapabledevice
                and/orcomputer.Additionally,the defendantisprohibited from using anotherindividual's
                computerordevicethathasinternetcapability.
              )Defendantisprohibitedfrom establishingormaintainingany emailaccountorsocialmedia
                account.Additionally,thedefendantisprohibited from usinganotherindividual'semailaccount
                orsocialmedia account.M ustprovidemonthly orupon request,personalphoneand creditcard
                billingsto PretrialServicesto confirm thereareno serviceswith any internetservicesprovider.
       6.     )Defendantisnotpermittedto enterplaceswherechildrencongregateincluding,butnotlimited
                to any play areas,playgrounds,libraries,children-them ed restaurants,daycares,schools,
                nmusem entparks,carnivals/fairs,unlessapproved by the U.S.Probation Officer.
       7. ( )Thedefendantshallnotbeinvolvedinany children'soryouthorganizations.
       8. ( ) Defendantisprohibitedfrom viewing,owning,orpossessinganyobscene,pornographic,or
                 sexually stimulating visualorauditory material,including telephone,electronicmedia,
                 com puterprogram s,orcom puterservices.
              )Thedefendantshallparticipateinamaintenancepolygraphexaminationtoperiodically
                investigatethedefendant'scompliance.Thepolygraph examination shallspecifically address
                only defendant'scom pliance ornon-compliancewith the specialconditionsofrelemse and shall
                notinquire into the factsofthe pending crim inalcase againstdefendant.The defendantwill
                contributetothecostsofservicesrendered(co-payment)basedonability topayoravailability
                ofthird party paym ent.
  u.M ay travelto and from :                          ,and mustnotify PretrialServices oftravelplans before
  leaving and upon retum .
V v.Complywiththefollowingadditionalconditionsofbond:
    specialCondition-FactW itnesses on the listprovided by the Government-No Comm unication aboutthe facts of
    the case,exceptthrpugh counsel.
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                                                       DEFENDANT: Donald JqTrum p
                                                       cAsENUM BER: 23-80101-CR-CANNO N
                                                       PAGE FIVE


                  PEN A LTIES AN D SAN C TIO N S APPLICA BLE T O D EFEN D AN T

      Violation ofany oftheforegoing conditionsofrelease may resultin theim mediateissuance ofawarrant
forthe defendant's arrest,a revocation ofrelease,and orderofdetention,asprovided in 18 U.S.C.53148,
forfeittlreofanybailposted,and aprosecution forcontemptasprovidedin 18U.S.C.j401,whichcouldresult
in apossibleterm ofim prisonm entorafine.

       The commission of any offense while on pretrial release m ay result in an additional sentence upon
conviction forsuch offenseto a term ofimprisonmentofnotm orethan ten years,iftheoffense isa felony;ora
term of imprisonment of not m ore than one year,if the offense is a m isdemeanor.This sentence shallbe
consecutiveto any othersentenceand m ustbeimposed in additionto the sentencereceived fortheoffense itself.

       Title18U.S.C.j1503makesitafelonycriminaloffensepunishableby imprisonmentanda$250,000fine
tointimidateorattempttointimidateawitness,jurororofficerofthecourt;18U.S.C.j1510makesitafelony
crim inaloffensepunishable by imprisomnentand a $250,000 fineto obstructacrim inalinvestigation;18 U.S.C.
j1512makesitafelonycriminaloffensepunishableby imprisonmentanda$250,000 tineto tamperwith a
witness,victim orinformant;and 18U.S.C.51513makesltafelonycriminaloffenseptmishablebyimprisonment
and a$250,000 fineto retaliateagainstawitness,victim orinformant,orthreaten to do so.

      Itisacriminaloffenseunder 18U.S.C.j3146,ifafterhaving been released,the defendantknowingly
failsto appearasrequired by the conditionsofrelease,orto surrenderforthe service ofsentence pursuantto a
courtorder.lfthe defendantwasreleased in cormection with a charge of,orwhile awaiting sentence,surrender
forthe service ofa sentence,orappealorcertiorariafter conviction for:

    (1)anoffensepunishablebydeath,lifeimprisonment,orimprisonmentforaterm oftifteenyearsormore
       thedefendantshallbe fined notm orethan $250,000 orimprisoned fornotm orethan tenyears,orboth;
    (2)anoffensepunishableby imprisonmentforaterm offiveyearsormore,butlessthanfifteen years,the
       defendantshallbefined notm orethan $250,000 orimprisoned fornotmorethan fiveyears,orboth;
    (3)anyotherfelony,thedefendantshallbefinednotmorethan $250,000 orimprisoned notmorethantwo
       years,orboth;
    (4)amisdemeanor,thedefendantshallbetined notmorethan $100,000 orimprisonednotmorethan one
       year,orboth.

       A term ofimprisonmentim posed forfailureto appearorsurrendershallbeconsecutivetothesentenceof
imprisonm entforany otheroffense.In addition,afailureto appearm ay resultin the forfeitureofanybailposted,
w hich m eans thatthe defendantw illbe obligated to pay the fullam ountof the bond,which m ay be enforced by
al1applicablelawsoftheUnited States.
   *
       Case 9:23-cr-80101-AMC Document 17 Entered on FLSD Docket 06/14/2023 Page 6 of 6

                                                                                  DEFENOANT:DO/JIJ $.Wrum p                            -u
                                                                                  cAsENUMBER: zA -8/ 10 l-LL'-@ * N 4
                                                                                  PAG E SIX

                            PENALTIES AND SANCTIO NS APPLIC ABLE TO SUR ETIES
Violationby thedefendantofany ofthe foregoingconditionsofreleasewillresultin an imm ediateobligation by the surety orsureties
topaythefullamountofthebond.Forfeimreofthebondforanybreachofoneormoreconditionsmaybedeclaredbyajudicialofficer
ofany United StatesDistictCourthaving cognizanceoftheaboveentitledmatteratthetimeofsuchbreach,and ifthebondisforfeited
andtheforfeitureisnotsetasideorremitted,judgmentmaybeentereduponmotioninsuch UnitedStatesDistrictCourtagainsteach
suretyjointlyand severally fortheamountofthebond,togetherwith interestand costs,and execution maybeissuedand payment
securedasprovidedby theFederalRulesofCriminalProcedureand otherlawsoftheUnited States.
                                                       SIG NATUR ES
lhavecarefullyread andlunderstandthisentireappearancebondconsistingofsevenpages,orithasbeenreadtome,and,ifnecessary,
translated intomynativelanguage,andlknow thatIam obligatedby law to comply withallofthetennsofthisbond.lpromisetoobey
aIlconditionsofthisbond,to appear in courtasrequired,and to surrenderforservice ofany sentence imposed.Iam aware ofthe
penaltiesandsanctionsoutlined in thisbond forviolationsofthetennsofthebond.
IfIam an agentacting fororonbehalfofacorporatesurety,IfurtherrepresentthatIam aduly authorized agentforthecorporate urety
andhavefullpowerto executethisbond intheamountstated.
                                                                         DEFEN DANT
                                                                                 *          *

Signedthis134% d                                                    ,2029 atV !             l ,Florida
Signed andacknow                     ore     :                            DEFENDANT:(Signature)
W ITNESS:
                                                                                            (rity                         State
        City                                  State

                                                                   CO R PO RATE SURETY
Signedthis                  day of                                 ,20     at                       ,Florida
SURETY:                                                                     AGENT:(Signature)
                                                                            PRINT N AM E:
            City                                   State

                                                                   IND IV IDUA L SU RETIES
Signedthis          dayof                    ,20      at             ,Floritla Sir edthis       dayof          ,20   at           ,Fl
                                                                                                                                    orida
SURETY:(Signature)                                                              SURETY:(Signature)
PRINT NAM E:                                                                    PRINT NAM E:
REM TIONSHIPTO DEFENDW                       :                                  REM TIO NSHIPTO DEFENDANT:

                   (riyy                                   State                       (rity                              State

Signedthis          dayof                    ,20      at             ,Flolida Signedthis        dayof          ,20   at           ,Fl
                                                                                                                                    orida
SURETY:(Signature)                                                              SURETY:(Signature)
PR INT NAM E:                                                                   PR INT NAM E:
REIA TIO NSH IPTO DEFENDAM ':                                                   RELATIO NSH IP TO DEFENDANT:

                   City                                    State                       City                               State
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                                                                                   J            ATHA N G O O D M A N
